       Case 3:09-md-02032-MMC Document 179 Filed 06/13/11 Page 1 of 4



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 6    CHASE ISSUANCE TRUST

 7

 8                             UNITED STATES DISTRICT COURT

 9                           NORTHERN DISTRICT OF CALIFORNIA

10
     In re: Chase Bank USA, N.A. “Check Loan”   )   MDL No. 2032
11   Contract Litigation                        )
                                                )   Case No. 3:09-md-02032-MMC (JSC)
12                                              )
     THIS DOCUMENT RELATES TO ALL               )   [Assigned to the Hon. Jacqueline Scott Corley
13   CASES                                      )
                                                )   DEFENDANTS’ STATEMENT
14                                              )   REGARDING DISCOVERY DISPUTE
                                                )
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                                                                       Case No. 3:09-md-2032 MMC (JSC)
                                                        Defendants’ Statement Regarding Discovery Dispute
                                                                              Case 3:09-md-02032-MMC Document 179 Filed 06/13/11 Page 2 of 4




                                                                      1           Defendants Chase Bank USA, N.A. and Chase Issuance Trust (together, “Chase”), respond

                                                                      2   to Plaintiffs’ Statement of Discovery Dispute filed on June 10, 2011, and request leave to submit

                                                                      3   further briefing on the legal issues presented.

                                                                      4           Plaintiffs’ contention that federal law governs the present discovery dispute is incorrect.

                                                                      5   Because the present litigation falls within the Court’s diversity jurisdiction,1 Delaware law applies,

                                                                      6   and Delaware law provides substantially broader protection of attorney-client privilege material

                                                                      7   than is available in purely federal question cases. See Fed. R. Evid. 501; Home Indem. Co. v. Lane

                                                                      8   Powell Moss & Miller, 43 F.3d 1322, 1326 (9th Cir. 1995). The Conference Committee Report of

                                                                      9   the Congress that enacted Rule 501 recognized that “the federal courts are bound to apply the
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                                                                     10   State’s privilege law in actions founded upon a State-created right or defense.”

                                                                                  Delaware Rule of Evidence 502(b) states in pertinent part:
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                                                                                  A client has a privilege to refuse to disclose . . . confidential communications made
                                     2029 Century Park East




                                                                     12
                                                                                  for the purpose of facilitating the rendition of professional legal services to the client
                                                                     13           (1) between the client or the client’s representative and the client’s lawyer or the
                                                                                  lawyer’s representative, (2) between the lawyer and the lawyer’s representative, (3)
                                                                     14           by the client or the client's representative or the client’s lawyer or a representative of
                                                                                  the lawyer to a lawyer or a representative of a lawyer representing another in a
                                                                     15
                                                                                  matter of common interest, (4) between representatives of the client or between the
                                                                     16           client and a representative of the client, or (5) among lawyers and their
                                                                                  representatives representing the same client.
                                                                     17
                                                                          (Emphasis supplied.) The Delaware Rule “is a departure from the federal cases . . . it is a
                                                                     18
                                                                          departure from the efforts to narrow the lawyer-client privilege.” Ramada Inns, Inc. v. Dow
                                                                     19
                                                                          Jones & Co., 523 A.2d 968, 971 (Del. Super. Ct. 1986).
                                                                     20
                                                                                  Thus, under Delaware law, communications among corporate employees, even
                                                                     21
                                                                          communications in which attorneys do not participate, are privileged if the employees “were
                                                                     22
                                                                          discussing information of a legal nature.” 3Com Corp. v. Diamond II Holdings, Inc., No. 3933-
                                                                     23
                                                                          VCN, 2010 Del. Ch. LEXIS 126 (Del. Ch. May 31, 2010);).2 Plaintiffs offer no contrary authority.
                                                                     24
                                                                          1
                                                                     25     Only a Delaware common-law claim remains in the litigation. See Docket Nos. 70, 172.
                                                                          2
                                                                            Accord Cephalon, Inc. v. Johns Hopkins Univ., No. 3505-VCP, 2009 Del. Ch. LEXIS 207, at *2
                                                                     26   (Del. Ch. Dec. 4, 2009); see also McCook Metals LLC v. Alcoa, Inc., 192 F.R.D. 242, 254 (N.D.
                                                                          Ill. 2000); In re N.Y. Renu with Moistureloc Prod. Liab. Litig., No. 2:06-MN-77777-DCN, 2008
                                                                     27   WL 2338552, at *10 (D.S.C. May 8, 2008); Santrade, LTD. v. Gen. Elec. Co., 150 F.R.D. 539, 545
                                                                          LA 51419249                                          -1-
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                                                                                                                                     Defendants’ Statement Regarding Discovery Dispute
                                                                            Case 3:09-md-02032-MMC Document 179 Filed 06/13/11 Page 3 of 4




                                                                      1           The challenged documents (mostly chains of emails), involved “information of a legal

                                                                      2   nature,” they indicated that attorneys were involved in the chain of communication, they were

                                                                      3   intended to be confidential, and many were marked “attorney client privileged.”3 All relate to

                                                                      4   substantive legal advice provided by counsel, even if an attorney is not in the “To” or “From” line

                                                                      5   on each specific email in a chain. It is clear that they all reflect ongoing discussions of legal

                                                                      6   matters, and that attorneys were important to the overall discussions. Under Delaware law, this

                                                                      7   establishes privilege, because when read as a whole, it is clear that each chain of communication

                                                                      8   was “made (1) for the purpose of seeking, obtaining or delivering legal advice, (2) between

                                                                      9   privileged persons, and (3) that confidentiality was intended.” Rembrandt Techs., LP v. Harris
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                                                                     10   Corp., No. 07C-09-059-JRS, 2009 Del. Super. LEXIS 46, at *18 (Del. Ch. Feb. 12, 2009).

                                                                                  Plaintiffs identified six documents in their portion of a draft joint statement of discovery
                                Los Angeles, California 90067-3086




                                                                     11
                                     2029 Century Park East




                                                                     12   dispute. Chase consents to this Court’s reviewing those six documents in camera, and Chase is

                                                                     13   confident that the Court will uphold Chase’s assertion of privilege. The claim that these documents

                                                                     14   were “hand chosen by Chase” is false. Plaintiffs chose them for challenge based upon Chase’s

                                                                     15   privilege log descriptions.4 The argument for some complex “sampling” process lacks any support.

                                                                     16   Chase suggests that after the Court rules on the initial six documents, the parties meet and confer

                                                                     17   further to determine what further challenges, if any, remain in regard to items on the privilege log,

                                                                     18   and to determine whether additional judicial intervention may be necessary.

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                                                                     21   (E.D. N.C. 1993); AT&T Corp. v. Microsoft Corp., No. 02-0164 MHP (JL), 2003 U.S. Dist.
                                                                          LEXIS 8710, at *7-8 (N.D. Cal. Apr. 18, 2003).
                                                                          3
                                                                     22      Moreover, to the extent employees were gathering information or otherwise assisting in-house or
                                                                          outside counsel with the pending litigation, the documents are independently protected under the
                                                                     23   work-product doctrine as “material obtained and prepared by an attorney or the attorney’s agent in
                                                                          anticipation of litigation or preparation for trial.” Kandel v. Brother Int’l Corp., 683 F. Supp. 2d
                                                                     24   1076, 1083 (C.D. Cal. 2009); Fed. R. Civ. P. 26(b)(3). Application of the work-product doctrine is
                                                                          governed by federal law. Id. at 1083.
                                                                          4
                                                                     25     Chase’s privilege log comports with both Delaware and Ninth Circuit requirements. See Del.
                                                                          Super. Ct. R. 26(b)(5); In re Grand Jury Investig., 974 F. 2d 1068, 1071 (9th Cir. 1992). Chase
                                                                     26   individually logged each document, with entries for: date and time of the email; author, to, cc;
                                                                          what the document is (i.e., email, attachment); a description of each document’s unique subject
                                                                     27   matter; and the specific privilege asserted.
                                                                          LA 51419249                                          -2-
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                                                                                                                                                    Case No. 3:09-md-2032 MMC (JSC)
                                                                                                                                     Defendants’ Statement Regarding Discovery Dispute
                                                                            Case 3:09-md-02032-MMC Document 179 Filed 06/13/11 Page 4 of 4



                                                                                                              Respectfully submitted,
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                                                                          Dated: June 13, 2011                STROOCK & STROOCK & LAVAN LLP
                                                                      2

                                                                      3                                       By:                 /s/ Julia B. Strickland
                                                                                                                                    Julia B. Strickland
                                                                      4

                                                                      5                                       Attorneys for Defendants

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                                                                                                                       Defendants’ Statement Regarding Discovery Dispute
